                                UNITED STATES COURT OF APPEALS
                                               FOR THE EIGHTH CIRCUIT

                                          APPEAL BRIEFING SCHEDULE

Appeal No.           24-1522 State of Iowa, et al v. SEC

Date:                March 13, 2024

       The following briefing schedule has been established for the case. Extensions of time are
discouraged and will only be granted for good cause.

        The agency is required to submit a certified list or administrative record within 40 days of
the date of this notice. Additionally, the parties are required to file an appendix of relevant record
materials. See Federal Rule of Appellate Procedure 30 and Eighth Circuit Rule 30A. Petitioner's
brief must include an addendum. See Eighth Circuit Rule 28A(b). Respondent's brief may
include an addendum.

          NOTE: The dates in the schedule may be extended by court order or advanced by
                a party's early filing of a brief. Please refer to Federal Rule of Appellate
                Procedure 31(a).


                                                        FILING DATES:


Administrative Record (from agency) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 04/22/2024


Appendix . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 05/06/2024
  ( Petitioners State of Iowa, et al.)


Opening Brief, with Addendum. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 05/06/2024
  ( Petitioners State of Iowa, et al. )

Responsive Brief . . . . . . . . . . . . . . . . . . . . . . . . . . . 30 days from the date the court issues
                                                            the Notice of Docket Activity filing the brief.

Reply Brief (optional) . . . . . . . . . . . . . . . . . . . . . . . 21 days from the date the court issues
                                                          the Notice of Docket Activity filing the brief.

                                ALL BRIEFS AND APPENDICES SHOULD BE
                                  FILED WITH THE ST. LOUIS OFFICE




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